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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                 :
                                                 :         CIVIL ACTION No.
    Karen L. Hoffmann                            :         20-6427
                                                 :

               v.                 :
                                  :
                                  :
    U.S. CUSTOMS AND BORDER PROTECTION

                                             NOTICE

       This case has been assigned to Judge Anita B. Brody.
       ANY NONGOVERNMENTAL CORPORATE PARTY MUST FILE
       FORTHWITH A STATEMENT IDENTIFYING ALL ITS PARENT
       CORPORATIONS AND LISTING ANY PUBLICLY HELD COMPANY THAT
       OWNS 10% OR MORE OF THE PARTY'S STOCK. A PARTY MUST
       SUPPLEMENT THE STATEMENT WITHIN A REASONABLE TIME OF ANY
       CHANGE IN THE INFORMATION.

1. A pretrial scheduling conference as described in Fed. R. Civ. P. 16 (a), (b) and (c) and Local
R. Civ. P. 16.1 (a) and (b) will be held by telephone on Thursday, September 23, 2021 at 2:00
PM. Unless otherwise specified, Judge Brody will follow the procedure at the conference as
outlined in the federal and local rules. Call in details will follow by e-mail.

2. Not later than seven days prior to the conference, counsel must submit to the Court a joint
Proposed Discovery Plan under Rule 26(f). The Proposed Discovery Plan must be filed on ECF.
Disagreements concerning the timetable of discovery or other discovery-related matters must be
highlighted in bold-face type. For assistance in developing the Proposed Discovery Plan,
counsel may follow the example set forth in Attachment A.

3. Whenever possible, motions to dismiss, transfer, add parties, and other threshold motions
should be filed before the conference.

4. Prior to the conference, counsel must evaluate the case for settlement purposes. Plaintiff’s
counsel must make a demand on opposing counsel no later than five days prior to the conference.
Defense counsel must respond to the demand no later than one day prior to the conference. All
counsel must arrive at the conference with settlement authority from the client and arrange for the
client to be available by telephone for the duration of the conference.

5. Unless the factual or legal issues are complex, the conference will last approximately thirty
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minutes. Judge Brody expects trial counsel to attend this conference. If unable to attend, trial
counsel must appoint other counsel familiar with the case and with authority to discuss
settlement to attend the conference. Trial counsel must notify Judge Brody and opposing
counsel of a substitute appearance at the earliest possible date. All counsel participating in the
conference must be registered on ECF. Additionally, all participating counsel seeking to be
admitted pro hac vice must file a motion and pay the associated fee prior to the conference.

6. At the conference, the following matters will be considered:

     (a) jurisdiction;

     (b) recitation of the facts, claims, and applicable law;

     (c) settlement;

     (d) dates for pretrial matters (see Attachment A);

     (e) any other matters that may arise.

7. The parties should be prepared at the conference to argue all outstanding motions.

8. In an uncomplicated case, Judge Brody will set the discovery deadline for between 90 and
  120 days after the conference. Discovery must be served, noticed and completed by the
  discovery deadline. Requests for extension of deadlines must be made by motion or
  stipulation.

9. All cases that are appealed from court-annexed arbitration will be set for trial as soon as
  possible.

10. Briefs or memoranda of law filed with the Court must not exceed 35 pages unless otherwise
 authorized by the Court. Shorter briefs and memoranda are recommended.

11. This case has been assigned to Law Clerk Beatrix Lu beatrix_lu@paed.uscourts.gov

12. Counsel are reminded that all submissions given directly to Judge Brody in the courtroom or
 chambers must also be filed by counsel with the Clerk of the Court or on ECF to assure proper
 docketing.

13. Requests to schedule or reschedule a conference or hearing before Judge Brody may be
 made by e-mail to the law clerk assigned to the case, stating the reasons and noting the
 agreement or disagreement of all counsel. Counsel must also provide the court with five
 alternative dates that are acceptable to all parties.
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15. All other non-urgent requests must be filed as motions. Formal motion formatting is not
necessary; a letter filed as a motion and a letter filed as a response are fine.

16. Judge Brody’s complete Policies and Procedures can be accessed via the United States
District Court for the Eastern District of Pennsylvania’s website at www.paed.uscourts.gov.




                             _s/Joseph B. Walton
                             Joseph B. Walton
                             Civil Deputy to
                             Judge Anita B. Brody
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                Attachment A - Proposed Discovery Plan Under Rule 26(f)


I. Rule 26(a) Disclosures

      Counsel anticipate completing the self-executing disclosures on
___________________, as required by Rule 26(a).


II. Discovery Subjects

        (A) Counsel agree that unless otherwise stipulated by the parties or ordered by the
court, discovery must proceed in accordance with the Federal Rules of Civil Procedure. This
includes the amendments to the Federal Rules regarding electronic discovery effective
December 1, 2006. If the parties agree to modifications to this default position, please list:




       (B) Counsel agree that the subjects for discovery include:




        (C) Counsel anticipate that the following depositions will be necessary (identify
parties if known at this point):
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III. Pretrial Timetable

       (A) The Court will enter the default scheduling order, a copy of which is attached as
       Attachment B, unless the parties request an alternate discovery schedule. The parties
       request a close of discovery date of
                                         .

       (B) Counsel may set forth below an alternative proposed scheduling order if agreed to
       by all parties. Counsel should use dates certain rather than contingent dates; if a date
       is difficult to specify, counsel should estimate it to the best of their ability.


IV. Alternative Dispute Resolution

       (A) Type of ADR, settlement conference etc.

       (B)Timing of ADR

       (C) Unless otherwise recommended, a settlement conference will be scheduled.


V. Other Pretrial Issues

       (e.g. protective orders, etc.)




Signed:



       Counsel for Plaintiff



       Counsel for Defendant
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                         Attachment B - Default Scheduling Order



       AND NOW, this _______ day of __________________ , it is ORDERED as follows:

1. Pretrial timetable:

   •   All discovery must be completed on or before: ______________.

   •   Plaintiff=s expert reports due on or before: [4 weeks before close of discovery
       (“COD”)].

   •   Defendant=s expert reports due on or before: [2 weeks before COD].

   •   Depositions of experts must be completed on or before: [COD].

   •   Dispositive motions due on or before: [2 weeks after COD].

   •   After all dispositive motions have been decided or when no dispositive motions have
       been filed and the time for filing dispositive motions has elapsed, the parties will be
       given notice of a trial date, a Final Pretrial Conference, and deadlines for pretrial
       filings.

2. Unless the parties agree to another form of alternative dispute resolution, United States
Magistrate Judge David R. Strawbridge will contact the parties regarding the scheduling of a
settlement conference. Judge Strawbridge requires that lead counsel and parties with full
settlement authority attend the conference.

3. All summary judgment motions and responses must contain a statement of undisputed and
disputed facts with citations to the record, including to the specific exhibit, page, and line
number. A party is granted 21 days to file a response in opposition to a motion for summary
judgment and 10 days to file any reply or surreply. Motions for leave to file a reply and
surreply are not necessary for a Rule 56 motion because replies and surreplies are
automatically allowed.

4. REMINDER: Counsel must submit to chambers TWO courtesy hard copies of all papers
filed with the Clerk of Court or filed on ECF. Courtesy copies should include the ECF
docket entry number on the first page. All exhibits should be separated by tabbed dividers.

5. Your case has been assigned to Law Clerk ______________________.
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6. Judge Brody=s Policies and Procedures can be accessed via the United States District
Court for the Eastern District of Pennsylvania’s website at www.paed.uscourts.gov.




                                                     ________________________
                                                     ANITA B. BRODY, J.
